        Case 1:18-md-02865-LAK     Document 498     Filed 11/24/20    Page 1 of 13




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

In re

CUSTOMS AND TAX ADMINISTRATION OF                            MASTER DOCKET
THE KINGDOM OF DENMARK
(SKATTEFORVALTNINGEN) TAX REFUND                             18-md-2865 (LAK)
SCHEME LITIGATION

This document relates to: 1:18-cv-04833-LAK.




                 Declaration Regarding The Danish Statute of Limitations
                                            By
                                 Mads Bryde Andersen,
                                     Professor of Law
                           Center for Market and Economic Law
                                University of Copenhagen




         Copenhagen, Denmark
         November 23, 2020
      Case 1:18-md-02865-LAK             Document 498        Filed 11/24/20     Page 2 of 13




       I, Mads Bryde Andersen, professor of law, declare the following:


                                    I.      QUALIFICATIONS

       1.        Since 1991 I have served as a professor of private law at the University of

Copenhagen, Denmark, from which university I graduated with a candidatus juris degree

(LL.M.) in 1981. During the years 1981-1986 I worked as a lawyer for a mid-size Copenhagen

law firm. I was admitted to the High Courts of Denmark in 1984. I joined the University of

Copenhagen Law Faculty in 1987 at which faculty I took the doctor juris degree in 1989 with a

dissertation on contract and tort liability for computer malfunctions.

       2.        For further information on my background, I refer to the enclosed CV (attached as

Appendix A).

       3.        I have written this legal Declaration at the request of Plaintiff, Customs and Tax

Administration of The Kingdom of Denmark (Skatteforvaltningen), in the following referred to

as “SKAT”.

       4.        SKAT is compensating me for my work in preparing this Declaration on a per-

hour basis.


                        II.     DOCUMENTATION REVIEWED



       5.        For the purpose of giving this Declaration, I have reviewed the following

documents in the litigation initiated by SKAT against Raubritter LLC Pension plan, Alexander

Burns, Richard Markowitz, and John van Merkensteijn:

              a. SKAT’s April 27, 2020, Amended Complaint;




                                                  2
      Case 1:18-md-02865-LAK                Document 498    Filed 11/24/20      Page 3 of 13




              b. Defendant Alexander Burns’ October 27, 2020, memorandum of law in support of

                 his motion to dismiss SKAT’s amended complaint.

        6.       Counsel for SKAT has invited me to describe certain parts of Danish law on the

limitations periods applicable to monetary claims with a particular view to the beginning of the

limitations period according to statutory legislation.

        7.       Secondly, I have been invited to present the general rules of suspension of

limitations in Danish law, and in light of the defendant Burns’ argument about the particular rule

of suspension in cases where the whereabouts of the debtor is not known, I also address the

applicability of that particular rule.


                                     III.     LEGAL SOURCES

        8.       My below legal analysis is based upon my interpretation of the Danish Limitation

Act (“Forældelsesloven”), no. 552 of 6 June 2007, published as Consolidated Act No. 1238 of 9

November 2015, in the following referred to as “DLA”. DLA is the general legal basis for

statutory limitations applicable to monetary claims in Denmark.

        9.       The DLA came into force on 1 January 2008, cf. Section 29, and applies to

monetary claims arising after that date. Before that, a 5-year statute of limitation applied

pursuant to Section 1 of Act No. 274 of 22 December 1908 on the limitation of monetary claims

(in the following referred to as “the 1908 Act”). A number of provisions of the 1908 Act,

including the rules of suspension (as discussed below in Sections IV(c) to (e), are in substance

similar to the suspension rules in the DLA.

        10.      As a basis for my analysis, I have studied relevant decisions from Danish Courts.

The main part of this case law is reported in the Danish Weekly Law Report (“Ugeskrift for

Retsvæsen”, in the following referred to as “U”, followed with a number indicating the relevant


                                                   3
       Case 1:18-md-02865-LAK                 Document 498            Filed 11/24/20         Page 4 of 13




year, page number and a symbol indicating the court in question – e.g., U 1963.377 H where “H”

stands for “Højesteret”, i.e. the Danish Supreme Court).1 Certain cases have been reported in the

periodical “Tidsskrift for Skatteret” (Journal of Tax Law), in the following referred to as TfS to

which I will refer by the same principles of abbreviation.

         11.      I have also referred to cases from other Danish courts, including Østre Landsret

(the Danish High Court for the Eastern Circuit, referred to as “Ø”), and Vestre Landsret (the

Danish High Court for the Western Circuit, referred to as “V”).

         12.      The DLA is subject to an extensive (1157 pages) and highly reputed handbook by

Professor Bo von Eyben, the 2nd edition of which came out in 2019 under the title: “Forældelse

efter forældelsesloven af 2007” (Prescription under the 2007 DLA). In the following I shall refer

to this book as “von Eyben”.


                                              IV. PRESENTATION

               a. The scope of the Danish Statute of Limitations

         13.      According to Section 1, the DLA applies to the limitations of claims for money or

other performances (“fordringer på penge eller andre ydelser”).

         14.      In the following I will focus on those of SKAT’s claims in the present litigation

that are “claims” in this understanding of the word (in Danish: fordringer), i.e. not proprietary

rights. The 3-year period set forth in Section 3 (1) of the DLA, as discussed below at subsection

(b), applies to all SKAT’s monetary claims in this litigation. This conclusion holds true

regardless of whether the claim in dispute is a tort claim or a claim for restitution.


1
          Danish courts appear at three levels: The lower level consists of 24 City Courts. The middle level consists
of two High Courts (one for the Eastern Circuit and one for the Western). On the top of the judicial hierarchy there
is one single Supreme Court. In general, cases are heard in the first instance by a City Court from which they can be
appealed to a High Court and – under certain circumstances, and subject to permission from the Appeals
Permissions Board – further on to the Supreme Court. The reasoning of the Supreme Court is, in principle, binding
for lower courts, and even for the Supreme Court itself in subsequent cases.

                                                          4
       Case 1:18-md-02865-LAK            Document 498         Filed 11/24/20       Page 5 of 13




        15.     On the contrary, claims of a proprietary nature fall outside the DLA. Such claims

are therefore not limited under the DLA. This is presumed by the Supreme Court in U 2018.3512

H. In this case, an amount held on a bank account for the benefit of an individual was subject to

limitation under the DLA since he was not the owner of the amount.

        16.     On pages 116-117 von Eyben confirms the assertion that the property right to a

stolen “thing” is not prescribed under the DLA.

        17.     It is my opinion that an individualized sum of money, e.g., bank notes in an

envelope, equals a “thing”. Furthermore, it is my opinion that the same should be the case if a

stolen amount is individualized and held on a separate account. This means that such proprietary

rights to monetary sums that can be individualized as such are not subject to limitation under the

DLA.

        18.     This view is confirmed in Danish case law which has accepted the vindication of

monetary amounts that can be pointed out as individualized sums, even though the amounts have

been exchanged to other currencies. See e.g., U 1991.467 V. The Amended Complaint, however,

does not disclose the facts necessary to determine whether the amounts that SKAT claims can be

pointed out as individualized sums. Accordingly, it is not possible without a fully developed

factual record to determine whether or not SKAT’s claims are proprietary and, if so, are not

subject to any limitations under Danish law.

        19.     In any event, the deceived owner may – depending upon the circumstances – raise

alternative claims, either against the fraudster or against parties responsible for the theft, e.g., for

liability in tort. Such claims for tort or restitution would be subject to the general rules of

limitation under the DLA as described at subsection (b).




                                                   5
      Case 1:18-md-02865-LAK            Document 498         Filed 11/24/20      Page 6 of 13




       20.      The DLA makes no distinction in regard to (1) the legal basis for the claim, (2)

what kind of performance it relates to, (3) who is the creditor or claimant (be it a private entity

or a state institution), or whether (4) the claim is by nature contractual, based on tort law, or on

statutory legislation.


             b. The main rules of the DLA

       21.      According to DLA Section 3 (1), the limitation period is 3 years, unless otherwise

provided by other provisions.

       22.      DLA Section 2 (1) provides that the limitation periods under the act shall be

calculated from the earliest point in time where the claimant could claim satisfaction of its claim,

unless otherwise provided by other provisions.

       23.      In relation to SKAT’s claims in the present litigation, the 3-year limitation period

should be calculated for each defendant in relation to each of the claims:

       24.      In regard to claims for the repayment of amounts that SKAT has paid to

applicants as alleged Withholding Tax (in the following, “WHT”) on the basis of fraudulent

information, the earliest time for calculating the limitation period is the date of payment of the

said WHT to the applicant, or an agent acting on his behalf.

       25.      In regard to claims for liability of all defendants for misrepresentation or fraud,

DLA Section 2 (4) applies. According to this provision the limitation period for claims regarding

compensation for non-contractual damages is calculated from the time of the occurrence of the

damage. In practical terms, this leads to the same limitation period starting at the date where the

WHT amount was actually paid to the applicant or the agent acting on his behalf since this event

caused the damage to SKAT.

       26.      Similar rules as those just described also applied under the 1908 Act.


                                                  6
      Case 1:18-md-02865-LAK            Document 498         Filed 11/24/20          Page 7 of 13




       27.      The starting point of the limitation period for tort claims is when the harmed party

is damaged. Where the damage is not clearly visible to the harmed party when the damage took

place, the 3-year limitation period would in isolation prevent the harmed party from recovery if

the loss and the role of the party causing the damage was not discovered until after the expiration

of the 3-year period.

       28.      In such cases, rules of suspension may come into play.


             c. The DLA rules of suspension

       29.      It follows from DLA Section 3 (2) that if the claimant was unaware of the claim,

including the role of the defendant, then the 3-year limitation period set forth in Section 3 (1)

shall be calculated from the day when the claimant became aware or should have become aware

of its claim. I will discuss this provision in particular at subsection (d) below.

       30.      Apart from Section 3 (2), Chapter 4 of the DLA provides for a number of rules,

where suspension occurs in circumstances where the creditor has taken certain legal steps

towards the debtor.

       31.      As I will revert to at subsection (e), DLA Section 14 (1) provides for a specific

one year suspension rule applicable to cases where the whereabouts of the debtor is unknown, or

when other obstacles not caused by the claimant’s circumstances apply.


       d. DLA Section 3 (2)


       32.      As noted above in para. 30, it follows from DLA Section 3 (2) that if the claimant

was unaware of the claim or of the debtor, then the 3-year limitation period in Section 3 (1) shall

be calculated from the day when the claimant became aware or should have become aware of its




                                                   7
      Case 1:18-md-02865-LAK           Document 498         Filed 11/24/20      Page 8 of 13




claim. In Danish legal terminology, the calculation of the limitation period is said to be

suspended until that time.

       33.     A suspension rule similar to DLA Section 3 (2) also applied according to Section

3 of the 1908 Act, however with one reservation: Whereas the claimant’s unawareness of the

whereabouts of the debtor was previously considered to be a part of the general statutory rule in

Section 3 of the 1908 Act, this situation is now subject to a particular rule under DLA Section

14, which I will discuss below at subsection (e).

       34.     In a recent case decided by the Danish High Court of the Eastern Circuit, U

2020.160 Ø: In 2008, two owners of an apartment had been granted an amount by a

municipality to renovate the building in which the apartment was located. The grant was to be

repaid to the municipality when the apartment was sold. In 2012, the owners sold the apartment

without repaying the grant. The municipality obtained knowledge hereof as part of an audit

exercise that took place when it became known that many owners in similar cases had failed to

repay their grants. When the municipality claimed repayment in litigation, the two owners

alleged that they had reported their moving from the apartment (and thereby the sale of it) to the

branch of the municipality responsible for the National Register. Both the high court and the city

court held that this did not imply that the municipality “should have” known that the amount was

due for repayment.

       35.     The test for whether the claimant “should have” become aware of its claim is

whether the claimant had sufficient information for a prudent person acting in the claimant’s

shoes to assess the basis for its claim, which includes (but is not limited to) knowing what is

necessary to plead its claim.




                                                    8
      Case 1:18-md-02865-LAK           Document 498        Filed 11/24/20      Page 9 of 13




       36.     I have been advised that the factual record that governs the motion before the

Court is limited to the allegations in SKAT’s Amended Complaint. That pleading does not allege

when SKAT learned of the defendant Burns or his role in the alleged scheme. Apart from what I

can read out of the documentation referred to above in para. 5, I have not examined the details of

the circumstances under which the WHT repayment claims subject to the present litigation came

to SKAT’s knowledge.

       37.     Danish courts have held that a claimant “should not have” known its claim for

repayment when it has relied on fraudulent information, even though the truthful information

might have been known had the creditor taken steps to investigate the case further.

       38.     This principle has been applied in cases where tax authorities upon inspection of

individual tax files have found out that a taxpayer had failed to provide specific relevant

information or that the information provided by him was false.

       39.     An early example of such court practice is U 1935.715 H, where the taxpayer had

failed to report a substantial amount that he had received as an income in 1925. The Danish

Supreme Court held that prescription of the claim for taxation of this amount was suspended

until this information became known to the tax authorities in 1932. Also, in the cases reported in

U 1994.168 H, TfS 2001 171 Ø, TfS 1988 641 V, U 2006.1492 H and U 2018.3119 H, the

taxpayer had made efforts to misinform the tax authorities. Therefore, the claims were not

prescribed.

       40.     The result turned out otherwise in U 1936.677 H, where the taxpayer had

provided the tax authorities with all relevant information, although this information resulted in an

unjustified low tax payment. SKAT’s claim for taxation was therefore prescribed, i.e. there was

no room for suspension.



                                                 9
      Case 1:18-md-02865-LAK                 Document 498            Filed 11/24/20         Page 10 of 13




         41.      Numerous subsequent cases have confirmed the principle that no suspension will

take place if the taxpayer provided all relevant and truthful information to the tax authority. See,

e.g., U 1963.377 H, U 1981.72 H, and TfS 1988 581 V. In all these cases, the taxpayer had

rendered truthful information in their tax reports. Although SKAT, upon subsequent inspection,

concluded that this information should lead to higher tax payment, the tax claim was subject to

limitation under the 1908 Act because no suspension took place.2

         42.      When this case law is applied in regard to the present WHT litigation, it is

essential to note that SKAT alleges that the WHT applicants submitted false information to

SKAT.

         43.      Assuming that the allegations in the Amended Complaint are true, I must

therefore conclude that SKAT is entitled to claim suspension in regard to claims for repayment

of WHT compensation that are caused by false information rendered to SKAT.

         44.      The next question then occurs, at what point in time SKAT should have known of

this false information, with the consequence that SKAT at least at that time “should have” known

its claim.

         45.      On the limited record contained in the Amended Complaint, it is not possible for

me to conclude on the timing of the suspension period. If SKAT’s allegations are correct, we are

faced with a highly complicated fraudulent scheme with many parties playing different roles.



2
         The case law quoted here involves public entities acting as claimants. There is also extensive case law on
Section 3 (2) that involve private individuals as claimants. In a recent decision from the Danish High Court for the
Eastern Circuit, reported in U 2020.1961 Ø, a pre-school teacher had received a lower salary from her employer (a
municipality) than she was entitled to, due to a mistake. The mistake was made when she took the position in 2009
and her previous work experience was not given due credit as it should under applicable rules. The mistake became
known 6 ½ after the first salary payment. Although certain circumstances of the case (including the fact that the
incorrect information was indicated in her first pay check in 2009 which showed a wrong “date of experience”), the
court held that she had reasons to believe that the municipality would base salary payments on correct information
on her work experience. For that reason, her salary claim was suspended from the first payment and her claim for
repay of salary was not terminated.

                                                         10
     Case 1:18-md-02865-LAK             Document 498         Filed 11/24/20      Page 11 of 13




       46.     It is also important to note that the information of the ownership of stocks that

gave basis for each application, the cash flow of the WHT amounts that were subject to SKAT’s

demand for repayment, and the beneficiaries of the pension plans were not public information

that SKAT had access to.

       47.     According to the Amended Complaint, the information shared with SKAT in June

2015 by the whistleblower only indicated that fraudulent activities took place with entities

seeking refunds pursuant to the double taxation treaty with Malaysia. It did not in itself give

SKAT a basis to pursue its claims against each of the U.S. pension plan recipients and to claim

damage from parties who willingly or by negligence participated in the fraud. SKAT would have

to look into every WHT application and WHT payment to ascertain whether it had been lawful

or wrongful, and if wrongful, the identity and roles of each participant in the scheme. Since that

task in itself would require substantial resources and planning, I cannot conclude that SKAT

“should have” known either its claims or the relevant defendants to the claims in June 2015.

       48.      Therefore, in relation to each Defendant, there is a need to provide evidence of

when SKAT became aware of – or should have been aware of – its possible claim for damage in

regard to that individual case. I am not able to establish that particular point in time since it will

depend on the particular circumstances in relation to each claim.


                   e. Section 14 of the DLA

       49.     Defendant raises DLA Section 14 (1), which provides that suspension also occurs

if the claimant has been unable to suspend limitation due to unawareness of the defendant’s

whereabouts or because of an obstacle which is not caused by the claimant’s circumstances. If

that is so, limitation at the earliest occurs one year after the claimant obtained, or should have

obtained, knowledge of the defendant’s whereabouts and one year after the obstacle ceased to


                                                  11
      Case 1:18-md-02865-LAK                 Document 498            Filed 11/24/20          Page 12 of 13




exist, respectively. This provision does not limit or impair the general suspension of limitations

when a claimant is unaware of the damage or the identity or role of a defendant, as I have

described above. DLA Section 14 (1) merely provides an additional suspension that a claimant

may need after determining its claim and the identity and role of the defendant, but is unable to

find the defendant.

         50.      Section 14 of the DLA reads as follows:3


               (1) If the creditor has been unable to suspend the prescription due to
               unawareness of the debtor’s whereabouts or because of an obstacle which is
               not caused by the creditor’s circumstances, the prescription of the earliest
               occurs 1 year after the creditor obtained, or should have obtained
               knowledge of the debtor’s whereabouts and 1 year after the obstacle ceased
               to exist, respectively.
               (2) The provision in subsection (1) cannot result in an extension of the time
               limits pursuant to section 3, subsection (3) and may at the most extend the
               other time limits or additional time limits within 10 years.
         51.      Whereas Section 3 (2) refers to circumstances that have caused unawareness on

the claimant’s side, Section 14 refers to other obstacles that may prevent the claimant from

exercising his claim. Section 14 is thus a lex specialis which only refers to those particular

obstacles and with a more limited legal effect of causing an additional suspension of up to 1

year. It is important to note that this 1-year suspension does not replace the suspension that may

occur under other DLA provisions.

         52.      Since the two rules apply in parallel, the fact that DLA Section 14 includes a

shorter time period does not affect the conclusions above in relation to DLA Section 3.


3
 The Danish wording of the provision reads:
§ 14.
Stk. 1. Hvis fordringshaveren har været afskåret fra at afbryde forældelse på grund af ukendskab til skyldnerens
opholdssted eller på grund af en hindring, som ikke beror på fordringshaverens forhold, indtræder forældelse tidligst
1 år efter, at fordringshaveren fik eller burde have fået kendskab til skyldnerens opholdssted, henholdsvis 1 år efter
hindringens ophør.
Stk. 2. Bestemmelsen i stk. 1 kan ikke medføre en forlængelse af fristerne efter § 3, stk. 3, og kan højst forlænge
andre frister eller tillægsfrister med 10 år.”

                                                         12
     Case 1:18-md-02865-LAK               Document 498    Filed 11/24/20     Page 13 of 13




                                              V. CONCLUSION

       53.     The analyses presented above lead me to conclude that a defence based on

limitation under the rules of the DLA cannot be established based on the limited record set forth

in the Amended Complaint..

       54.     I declare under penalty of perjury under the laws of the United States of America

that the foregoing is true and correct.




Executed on November 23, 2020


                                                                Mads Bryde Andersen




                                           VI. APPENDIX

Appendix A: CV for Professor Mads Bryde Andersen




                                                 13
